     Case 1:23-mi-99999-UNA Document 396-1 Filed 02/08/23 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KATHY TEAGUE,                     )
                                  )
     Plaintiffs,                  )    CIVIL ACTION FILE NO.:
                                  )
v.                                )    ______________________
                                  )
ALDRIDGE PITE HAAN, LLP,          )
                                  )
     Defendant.                   )
                                  )

                   EXHIBIT “A” CONSENT JUDGMENT
  Case 1:23-mi-99999-UNA Document 396-1 Filed 02/08/23 Page 2 of 2




               IN THE j).~ :;.~ v~C OU RT OF_ .. f w                        Ji     -h~n          COUNTY
                                                                                                                  .,\\~ ti.AG/Sr~
                         ar        STATE oF GEORGIA                                  v
                                                                                                                t:S>v            ~

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                                                                                                          z        NOV 18 2016
   vs.
                                                                            CIV[L ACTION ffLE
                                                                            NO. \lo O )53 0

         D endant

                                                    CONSENT JUDGMENT
                                                                   mons and Complaint and having agreed to
         Defendant having acknowledged service of the Sum g consented hereto,
the jurisdiction of this Court, and Plaintiff and
                                                  Defendant havin

                                                    that Plaintiff have and recover from Defendant the·
IT IS HEREBY ORDERED AND ADruDGED                                                              attorneys' fees
principal amount of$ 11 1 U).7 . 't- ~-            , interest of$ 0 . 0 , ·
                                                                                       rate (the "Judgment").
of$ I/ l.1 • 1 'f         ·       cou~ costs, and post judgment interest at the legal
                                                   A- \ ,,,. , .. )
Defendant shall pay the Judgment as follows: -~          ':>tJ .,, L



                                                                                                             of
                                                     essence in this regard. Timely receipt and clearance
until the Judgment is paid in full. Time is of the                                       ndan t timely make  s
                                                     of the Judgment. So long as Defe
the payments will result in complete satisfaction
                                                   agree  s to forbear from pursuing any other legal
each payment in accordance herewith, Plaintiff                                                           s. If
                                                    Plaintiff reserves the right to obtain a Fieri Facia
proceedings to enforce or satisfy the Judgment.                                               imm  ediately
                                                    rdance herewith, this forbearance shall
 Defendant fails to timely make payment in acco
                                                      any and all available legal and equitable remedies
                                                                                                                            to
 tenninate and Plaintiff shall be entitled to pursue
                                                     ent received.
 satisfy the Judgment in full, less credit for paym

                          .                  T h i s ~ day of                        [\D\!Cn'\nU,
                                                                                            2016 .




                                                                                         __.__ _--:....;:,_ County

  Consented to by:
  .--- :;:: :::. __    __
 t rI·:--· Jl~-=4~--·- -·                                      DATE:

  Defendant    1 ·,   rvl.;   i'L\'.::)· l E_c,._ ::l \>..t.
   ~1.U-                                                       DATE:        '\I' ~ I }l.:
  J es G. Whiddon m
  Georgia Bar No. 752558
  McCullough Payne, Haan & Nadler
                                  '
                                                  LLc]' ·f ~ 1
  271 17th Street NW STE 2200
  Atlanta, GA 30363
                                                                 )u
                                                                   ··u..,
  (t) 404 ·873 • 1386, Attorneys for Plaintiff
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